             IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE:         THE HONORABLE GARY S. KATZMANN, JUDGE
                THE HONORABLE TIMOTHY M. REIF, JUDGE
                THE HONORABLE JANE A. RESTANI, JUDGE
__________________________________________
                                             )
THE STATE OF OREGON, THE STATE OF            )
ARIZONA, THE STATE OF COLORADO,              )
THE STATE OF CONNECTICUT, THE                )
STATE OF DELAWARE, THE STATE OF              )
ILLINOIS, THE STATE OF MAINE, THE            )
STATE OF MINNESOTA, THE STATE OF             )
NEVADA, THE STATE OF NEW MEXICO,             )
THE STATE OF NEW YORK, and THE               )
STATE OF VERMONT,                            )
                                             )
                Plaintiffs,                  )   Court No. 25-00077
                                             )
                v.                           )
                                             )
DONALD J. TRUMP, in his capacity as          )
President of the United States;              )
DEPARTMENT OF HOMELAND                       )
SECURITY; KRISTI NOEM, in her official       )
capacity as Secretary of the Department of   )
Homeland Security; UNITED STATES             )
CUSTOMS AND BORDER PROTECTION;               )
PETER R. FLORES, in his official capacity as )
Acting Commissioner for U.S. Customs and     )
Border Protection; and THE UNITED            )
STATES,                                      )
                                             )
                Defendants.                  )
___________________________________________ )

                            DEFENDANTS’ NOTICE OF APPEAL

         Notice is hereby given that defendants appeal to the United States Court of Appeals for

the Federal Circuit from the Court’s opinion and final judgment of May 28, 2025. See ECF Nos.

65-66.
DATED: May 28, 2025              Respectfully submitted

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U.S. Department of Justice       Director
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Federal Programs Branch          /s/ Claudia Burke
                                 CLAUDIA BURKE
                                 Deputy Director

                                 /s/ Justin R. Miller
                                 JUSTIN R. MILLER
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                                 International Trade Field Office

                                 /s/ Sosun Bae
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                               CERTIFICATE OF SERVICE

       I hereby certify that, on May 28, 2025, I caused the foregoing “NOTICE OF APPEAL”

to be filed and served electronically via the Court’s CM/ECF system.


                                       /s/ Claudia Burke




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